Case 9:96-cv-08224-JAG Document 161 Entered on FLSD Docket 11/03/1999 Page 1 of 12
Case 9:96-cv-08224-JAG Document 161 Entered on FLSD Docket 11/03/1999 Page 2 of 12
Case 9:96-cv-08224-JAG Document 161 Entered on FLSD Docket 11/03/1999 Page 3 of 12
Case 9:96-cv-08224-JAG Document 161 Entered on FLSD Docket 11/03/1999 Page 4 of 12
Case 9:96-cv-08224-JAG Document 161 Entered on FLSD Docket 11/03/1999 Page 5 of 12
Case 9:96-cv-08224-JAG Document 161 Entered on FLSD Docket 11/03/1999 Page 6 of 12
Case 9:96-cv-08224-JAG Document 161 Entered on FLSD Docket 11/03/1999 Page 7 of 12
Case 9:96-cv-08224-JAG Document 161 Entered on FLSD Docket 11/03/1999 Page 8 of 12
Case 9:96-cv-08224-JAG Document 161 Entered on FLSD Docket 11/03/1999 Page 9 of 12
Case 9:96-cv-08224-JAG Document 161 Entered on FLSD Docket 11/03/1999 Page 10 of 12
Case 9:96-cv-08224-JAG Document 161 Entered on FLSD Docket 11/03/1999 Page 11 of 12
Case 9:96-cv-08224-JAG Document 161 Entered on FLSD Docket 11/03/1999 Page 12 of 12
